Case 1:24-cv-00648-AA   Document 27-3   Filed 07/15/24   Page 1 of 2




                        EXHIBIT 03
                    Re: Update on response to respondent's reply and phone conference about communi~ation with children EXHIBIT 03
                Case 1:24-cv-00648-AA                 Document 27-3           Filed 07/15/24         Page 2 of 2

         Subject: Re: Update on response to respondent's reply and phone conference about
         communication with children
         From: Arnaud Paris <arnaud@skyvr.com>
         Date: 09/07/2024, 22:44
         To: Katrina Seipel <KAS@buckley-law.com>
         CC: Katelyn Skinner <kds@buckley-law.com>, Wendy Goodyear <wag@buckley-law.com>

         Hello Miss Seipel,
         I'm surprised I didn't hear back from you after my last email below in regards to this
         conferral that I had agreed to do with you, especially as I wanted to address the fact that
         Miss Brown seems to be in a clear pattern of parental alienation which is in contravention
         with the provisions of the Hague Convention as Miss Brown has refused to let our children have
         any video calls with me or their French grandparents (or anybody from their French family) for
         more than 3 months now.
         As I mentioned in my emails to you twice below, the Hague Convention has provisions that
         require that the parent who abducted the children be required to preserve the visitation right
         or in this instance the remote 'visitation' of the left behind parent to the children which
         would logically be under the form of several video calls per week at the bare minimum without
         any supervision from Mother to ensure that the children be allowed to speak freely to their
         Father.
         This direct and unsupervised video communication hasn't been happening for more than 3 months
         now and this is extremely detrimental to the well being of our children and to their mental
         stability in this context particularly.
         Please communicate with me urgently your availability to discuss these matters on the phone as
         a conferral in the next few days and please provide me ahead of this discussion with the
         documented and detailed itinerary Miss Brown took to leave France with our children in April,
         including which exit point of the European border passport controls she used and at what exact
         time and location she crossed the French and European borders. This is crucial information
         that we need to have to be able to discuss this Hague matter and the nature of the removal of
         our children that Miss Brown conducted on French soil as a part of this required conferral
         between us.
         Regards,
         Arnaud Paris
         On 04/07/2024 20:58, Arnaud Paris wrote:
          Miss Seipel, I would like to speak with you urgently regarding the abduction that Miss Brown
          committed and I would like you to explain hovi Miss Brown took Eva and Juliette outside of
          France in violation of two French judgments including one forbidding Miss Brown to exit
          France or Europe with our children that Miss Brm•m told in person she would never dare
          violate to the presiding judge of the appeal court of Paris just a few days before.
          Please provide me with the detailed itinerary she took to leave France and which exit point
          of the European border controls she used and at what exact time of passage.
          Please provide me with the documents she used to exit Europe.
          I would like to know your involvement and the involvement of your law firm in the
          preparation of this abduction since last August.
           I would like to talk also with you about the parental alienation undergoing since Miss Brown
           abducted our children from France and the fact that neither me nor my family could do a
           single video call for the last three months viith Eva and Juliette.
           I would be available tomorrow July 5th at 10.30am, 2pm or 3pm PST but please provide me with
           the re,uested documents above before this conferral are ther are crucial to this conferral.

           Regards,
           Arnaud Paris
           On 04/07/2024 04:20, Katrina Seipel wrote:

I of 6                                          EXHIBIT 03 - PAGE 01 OF 01                                           15/07/2024, 13:27
